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                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF MINNESOTA


  TRISTAN K. EASTMAN; JESSE ROYAL
  TAPIO; TYSON JAMES SARGENT,                       Civil No. 21-1954 (JRT/KMM)

                      Plaintiff,
                                                               ORDER
  v.

  MINNESOTA CORRECTIONAL FACILITY;
  ASSOCIATE WARDEN AMY WESTPAL;
  and CHAPLIN SWAGGER,

                      Defendant.


       Tristan K Eastman, OID#262842, MCF Faribault, 1101 Linden Lane,
       Faribault, MN 55021, Jesse Royal Tapio, OID# 215057, MCF Faribault, 1101
       Linden Lane, Faribault, MN 55021, Tyson James Sargent, OID# 238215,
       MCF Faribault, 1101 Linden Lane, Faribault, MN 55021, pro se plaintiffs.

       United States Magistrate Judge Kate Menendez filed a Report and

Recommendation on October 20, 2021. No objections have been filed to that Report

and Recommendation in the time period permitted. Based upon the Report and

Recommendation of the Magistrate Judge, upon all of the files, records, and

proceedings herein, the Court now makes and enters the following Order.

       IT IS HEREBY ORDERED that plaintiffs Jesse Royal Tapio and Tyson James Sargent

are DISMISSED WITHOUT PREJUDICE under Fed. R. Civ. P. 41(b) for failure to prosecute.

       LET JUDGMENT BE ENTERED ACCORDINGLY.
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DATED: December 2, 2021                ______                      ______
at Minneapolis, Minnesota.                     JOHN R. TUNHEIM
                                                   Chief Judge
                                           United States District Judge
